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IN THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Kelly Thimios

Plaintiff

National Credit Systems, Inc.

Case No.

COMPLAINT

July Demand Requested

3800 Camp Creek Pkw, SW Bld 1800-110

 

Atlanta, GA 30331 )
Defendant
Now comes Plaintiff, by and through her attorneys, and, for his Complaint alleges as
follows:
INTRODUCTION

 

Plaintiff, Kelly Thimios, brings this action to secure redress from
unlawful collection practices engaged in by Defendant, National Credit
Systems, Inc.. Plaintiff allege violation of the Fair Debt Collection
Practices Act, 15 U.S.C. Section 1692 et seq. (“FDCPA’).

APPLICABLE CASE LAW .
In Evory v. Rim Acquisitions Funding, L.L.C., 505 F.3d 769, 2007 WL
3071678 (7' Cir., 2007), the Court laid out safe harbor language of
“We are not obligated to renew this offer,” for offers to settle debt.
An attorney's signature implies the attorney has formed a professional
judgment about the debtor's case; these implications will frequently be
false in a mass mailing situation Avila v. Rubin, 84 F.3d 222 (7th Cir.,
1996)

JURISDICTION AND VENUE

This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,

1367; and 15 U.S.C. section 1692(d).
Venue is proper because a substantial part of the events giving rise to
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this claim occurred in this District.
PARTIES

6. Plaintiff, Kelly Thimios (hereinafter “Plaintiff’) incurred an obligation to
pay money, the primary purpose of which was for personal, family, or
household uses (the “Debt’).

7. Plaintiff is a resident of the State of Illinois

8. Defendant, National Credit Systems, Inc. (“Defendant”), is a Georgia
business entity with an address of 3800 Camp Creek Pkwy SW Bldg
1800-110, Atlanta, GA 30331-6050 operating as a collection agency,
and is a “debt collector’ as the term is defined by 15 U.S.C. Section
1692a(6).

9. Unless otherwise stated herein, the term “Defendant” shall refer to

National.
10.At some point, the original creditor, transferred this debt to Defendant

for debt collection.
ALLEGATIONS APPLICABLE TO ALL COUNTS

11. The Plaintiff allegedly incurred a financial obligation in the approximate
amount of $1566.78 (the “Debt”) to an original creditor (the “Creditor’)

12. The Debt was purchased, assigned or transferred to Defendant for
collection, or Defendant was employed by the Creditor to collect to
Debt.

13. The Defendant attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. Section 1692a(2).

14.On February 3, 2020, Defendant sent a non-initial communication to
Plaintiff. See Exhibit A.

15. The opening of the letter stated “[W]e have authorized to extend a debt
discount opportunity on the above referenced account” See Exhibit.

16.Next, said letter stated “[Y]ou may satisfy your debt in full at a 50%
discount, the Resolution Offer, if you pay by 02/29/2020. This offer is
valid as of the time of the receipt of this letter until the offer expiration

date of 02/29/20.” See Exhibit.
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17.Moreover, Defendant advises Plaintiff that she should use her tax
refund to help with the payment to settle this debt and if it can not be
paid by 02/29/20, “contact us before the expiration date is mentioned
above, and we will extend this special into the month of March.” See
Exhibit

18. There is nothing in this letter that states “there is no obligation to renew
this offer.”

19. Defendant is deceiving Plaintiff that this is the “FINAL NOTICE-
SETTLEMENT OFFER,” when in reality the Defendant would be quite
willing to offer the same terms in the future.

VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.

20. The Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully stated herein.

21. The Defendant’s conduct violated 15 U.S.C. Section 1692e by sending
a misleading communication to Plaintiff.

JURY DEMAND
22.Plaintiff demands a trial by jury.
PRAYER FOR RELIEF

23. Plaintiff demands the following relief:

WHEREFORE, the Court should enter Judgment in favor of Plaintiff and

against Defendant for:
(1) Statutory damages;

(2) Attorney fees, litigation expenses and costs of suit; and
(3) Such other and further relief as the Court deems proper.
Respectfully submitted,

/s/ John Carlin
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